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                     UNITED STATES DISTRICT COURT FOR
                         THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                                Case No.: 1:21-cr-00128-RC

                v.


WILLIAM ALEXANDER POPE,

                         Defendant .

MOTION FOR PERMISSION TO TRAVEL TO D.C. FOR THE PURPOSE OF
 TAKING A CAPITOL WALKTHROUGH IN PREPARATION FOR TRIAL

        Under Federal Rule of Criminal Procedure 16(E), which governs discovery and

inspection of evidence, “upon a defendant's request, the government must permit the defendant

to inspect and to copy or photograph . . . tangible objects, buildings or places . . . if the item is

within the government's possession, custody, or control and: (i) the item is material to preparing

a dense; (ii) the government intends to use the item in the case-in-chief at trial.

        Since the charges brought against me pertain to the United State Capitol (ECF No. 46),

and since the government has conveyed that the Capitol is a core evidentiary component of their

case-in-chief, I will need to make the Capitol building a core component of my defense. Because

of this, I need to inspect “buildings or places” related to my charges - the Capitol and Capitol

Grounds - in order to adequately prepare my defense.

        Therefore, I seek permission from the Court as outlined in Section 7(s) of my Conditions

of Release (ECF No. 16) to travel to the District of Columbia for the purpose of attending a

walkthrough of the Capitol in order to conduct a Rule 16(E) building inspection in preparation

for my trial.
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         These walkthroughs are made available by Capitol Police periodically, including one that

is coming up on May 5, 2024 (See Figure 1). Since I am the counsel in my own case and am

conducting my own defense, this walkthrough can only be done by me, and I have a right as a

defendant to inspect all places relevant to my case. I ask that the Court allow me to travel to

Washington for the May 5, 2024 walkthrough, or at a future walkthrough date.




Figure 1: Capitol Police periodically schedule Capitol Walkthroughs for January 6 cases, including on May 5, 2024.

         Since the government has not yet produced all Capitol CCTV to defendants in discovery,

and since not all CCTV has yet been made public by Congress, there are still many blind spots in

my case timeline, which necessitates a physical inspection of these areas. Additionally, there are

key details of the Capitol that I need to inspect up close that are uniquely relevant to my case,

such as the gap in the Senate Carriage Doors, which Capitol Police bumped my flagpole into.
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       I request that in the interests of justice this motion be granted as soon as possible so that I

can make travel plans to Washington, and so that I have time after my visit to incorporate my

observations into my defense preparations. In line with my May 3, 2023, motion to travel to D.C.

to view the Congressional CCTV terminals (ECF No. 105), I ask that I be granted “permission to

freely travel to and within the District of Columbia and surrounding area (the states of Maryland

and Virginia), and back to Kansas.”

       In accordance with my release conditions, I will notify Pretrial Services at least 48 hours

before travel begins and give them an itinerary of my travel plans.

       Respectfully submitted to the Court,

                                                       By: William Pope

                                                           /s/


                                                       William Pope
                                                       Pro Se Officer of the Court
                                                       Topeka, Kansas




                                         Certificate of Service
     I certify a copy of this was filed electronically for all parties of record on April 2, 2024.
                                                   /s/
                                  William Alexander Pope, Pro Se
